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                              W ESTERN DISTRICT OFVIRGINU                          BY:/s/
                                                                                        1J.JONES
                                     CHARI.OTTESVILLE D IVISION                      DEPUW CLERK
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      ELIZABETH SINES, etal.,                             cAsEN o. 3:17-cv-00072
                                                                                        I

                                      Plaintp ,           ORDER FINDING ELLIOTT KLINE
                                                          REM A IN S IN CIV IL CON TEM PT;
                           V.                             ORDER FOR ELLIO TT KLINE T0
                                                                                       t
      JASON KESSLER,etal.,                                SURILENDER To CUSTODY UF Tl'
                                                                                     lE
                                      Defendants U.S.MARSHAL
                                                  .
                                                                                       j
                                                                                       1
                                                          JUDGEN ORM AN K .M OON


           This m atterisbeforethe Courtfurtherto this Court'sOrderFinding ElliottK line in Civil
                                                                                       û
    ContemptissuedonNovember27,2019(Dld.599),andtheSecondCivilContempiIHearingfor
    ElliotKline,heldonDecember16,2019(Dld.609).
           This Courthad w arned K line that in the days leading up to his Second CiVilContem pt
                                                                                       I
    H earing,hiseffortsççshould demonstrateasingle-minded focusonpurginghimselfcl
                                                                                )fcontempt.,,
                                                                                       1
    Dkt.599at14(!39).Byanymeasure,Klinefellfarshort.                           !
          Klinehasfailedtofollow thisCourt'sclearinstructionshow topurgehimseli-ofcontempt
    in various respects.W here K line did act,he did notdo so w ith haste.In fact,he w aited ten days
                                                                                       I
                                                                                       p
    afterthisCourtfound him in contem ptto serve hislong-overdue discovery responseson Plaintiffs.
                                                                                       1
    A nd thoseresponseswerew oefully detscient.Nearly two yearsafterPlaintiffsserved requestsfor

    docum ents and interrogatorieson Kline,afterm onthsoflitigation,m otions forsanctIions,and this
                                                                                       I

    Court'sfindingKli
                    neincontemptheansweredPlaintiffs'questionsinahalf-pageel
                                                                           -mail,andhe
    t'urned overone docum ent.M oreover,itisreadily apparentthatK line'sanswers om itted m aterial

    infonuation.



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           Atbottom,Kline'shalfheartedandsluggisheffortsofterlittleindicationthatheintendsto

    meaningfulypart
                  ici
                    pateindiscoveryori
                                     nthiscasegoingforward.Rather,theydeml
                                                                         onstratethat
    thesanctionsimposedthusfarof$200perdayofnon-compliancehavenotbeenadequatetocoerce
    K line into com plying w ith the ordersofJudge H oppe and thisCourt.M ore stringentsanctionsare
                                                                                      l
                                                                                      I
    required.

           Forthereasonsbelow and asw ellasthoseexpressed attheSecond CivilContem pthearing,

    thisCourtfindsthatElliottKline isand rem ainsin civilcontemptofcoult and thythe hasnot
                                                                                l
    takenthestepsrequiredtopurgehimselfofcontempt.ThisCourtGndsthefollowinglanctionsare
    warrantedandarenogreaterthannecessarytocoerceKlineintocompliancewith CtIurtorders:
           T                                                                        1
            o cuerce Kline into compliance w ith courtorders,and to begin com pensatlng Plaintiffs
                                                                                      1
                                                                                      I
    now fortheir lossescaused by Kline's contum acy,thisCourtORDERS Kline to pay $600 to
    Plaintiffs,which shallbe due to Plaintiffs im m ediately and no laterthan D ecem be: 30,2019,at

    5:00 P.M .EST ,which sum retlectsthree daysofthe rem edialtsnesK line hasincurred to date as
                                                                                      I
    a resultofhis non-compliance.

           ThisCourtcontinuestoimposeupon Kline(and infavorofPlaintiffs)arepedialfineof
    $200perdayofhisnon-compliance,which finesbegantobeassessed startingDecember2,2019,
                                                                                     1
    andhavecontinuedto beincurredon each daythereafter- withtheexceptionoftheéatesbetween
    D ecem ber 16,2019 and the date ofthe issuance ofthisOrder.                      1
                                                                                     I
           Finally,this Coul'
                            t ORDERS Kline to appear at the United States Cdurthouse in
    Charlottesville,Virginia,on M onday,January 6,2020,at12:00P.M .EST,and surrender
                                                                               )    him self

    to the custody of the United States M arshals Service.K line shall bring with him any and a11
                                                                                     i
    docum ents, electronic devices, credentials to access e-m ail and social m edia account
                                                                                     I     s, and
                                                                                     1
    m aterialshe would need to purge him self ofcontem pt.K line willhave the opportunity to avoid


                                                  2

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    additionalfines and incarceration if Kline purges him self of contem pt beforehand;but,absent

    furtherwritten orderfrom this Court,he shallsurrenderhim selfas directed on January 6,2020.


                                    '                                               I
                                               Background                           I

            1.     O n N ovem ber 25,2019,this Courtfound by clear and convincing evidence that

    ElliottK line was in contem ptof courtforhispattel'n ofserious,repeated violations'
                                                                                      ofnum erous

    discoveryordersissuedbothbythisCoul'tandbyU.S.MagistrateJudgeHoppe.Djt.600at73-
    77(FirstCivilContemptHr'gTr).       .
                                                                                    f
                                                                                    j
                                                                                    I
           2                                                                     I
             .     A tthatCivilContemptH earing,thisCourtannounced that,in orderto bring K line
                                                                                    1
    intocompliancewiththeseOrders,itwouldimposemonetarysanctionsonKlineof$
                                                                         !200perday
    ofhiscontinuednon-compliance,whichwouldbepayabletoPlaintiffs.Dlct.600Jt77-78;see
    also id.at59-60.Butthis Courtsuspended the finesuntilDecem ber2,2019,giving K linetim e to

    com ply before finesw ere incurred.1d.at78-80.                                  I

           3.      A nd atthathearing,thisCourtfurtherexplained stepsK linew asrequired to takein

    ordertoGçbring (himseltlintocompliance''beforeDecember2,inwhichcasehewouldbeableto
    avoid the rem edialflnes.D kt.600 at 78-79.These included,in no uncertain term s,that Kline

    Ssmustrespondinwritingfully andcompletely toplaintiffs'firstsetofinterrogatoriejandrequests
                                                                           i    .
    forproductionofdocuments,''whichPlaintiffswouldsendhim againthatday.Onpecompleted,
    K line Ctw illsend those to plaintiffsand e-m ailthem to the Court.''fJ.
           4                                                                      i
             .     This Courtconcluded the CivilContem ptH earing by scheduling a '
                                                                                  Second Civil
    ContemptHearingonDecember16,2019at11:00a.m.,(stodeterminewhethergKlil
                                                                        nehasqcome
    into com pliance w ith the order.''fJ.at80.




                                                     3

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          5.         On N ovem ber 27,2019,this Courtissued a w ritten O rderFinding ElliottK line in

    CivilContempt($$Civi1ContemptOrder''),thatmemorialized and expounded upon thisCourt's
    tsndingsatthe contem pthearing.Dkt.599.ln thatOrder,asatthe hearing,this Courtexplained

    how Kline'sconductwascontemptuousofnumerousvalidcourtorders.Dkt.599at91-12(!!23-
    34).                                                                  l
        ThisCourtfurtherruledthat(lltlocoerceKli
                                               nei
                                                 ntocompliancewithcourtorder
                                                                           1
                                                                           s,thisCourt
    willimposeupon Kline(andin favorofPlaintiffs)aremedialfineof$200perday ofhisnon-
    com pliance,w hich fine willbe suspended untilD ecem ber2,2019,to be incurred at 5:00 P.M .
    EST on thatdate and on each follow ing day of non-com pliance,untilK line purges
                                                                                   i him self of

    contempt.''1d.at2;see also id.at13,15-16.                                           j
           6                                                                   !
            .
                     UnderaheadingentitledtçstepstoPurgeHimselfofContempt''this1
                                                                               Courtwrote,
                                                                                        :
    GslajsthisCourtexplainedtoKlineattheContemptHearing,hemustcompletethefollowingsteps
    topurgehimselfofcontempt.''fJ.!41.Thesewere:
                                                                                        !
                a. Klinemustresyond in writingfu,lly
                                                   - and comp
                                                            -l
                                                             etelv
                                                                 -toPlaintiffs'Firs
                                                                                  1tSe
                                                                                     t
                     of Interrogatorles and Plaintiffs Requests for Production of D ocum ents.
                     W hen thoseare complete,K linemustsendthem to Plaintiffsandem ailthem
                     tothisCourt'sChambersaccount(lmoon.ecf@,vawd.tlscouds.-
                                                                           t
                                                                           yov)aswell
                     asthatofJudgeHoppe(hoppe.ecf@vaNvd.uscotll4s.gov).                 j
                b.
                                                                                        I al
                     K line m ustprovide the Third Party Discovery V endorhis em ailand soci
                                                                                        I
                     m edia credentials,including hispasswords,forevery accounthe ident  iûed
                     on hisCertilcation Form ,orthatshould havebeen included on such .orm
                     originally.
                         i. Kli
                              nemustfurtherconductadiligentsearch ofhiselectroni1
                                                                                gand
                            anyotherrecordstocontsrm thatthelistofcredentialsheinjuded
                            on hisCertificationForm iscomplete,andtouncoverhiscredr'
                                                                                   ntials
                            (includingpasswords),toanyoftheseaccounts.                  !
                        ii. Foranyand allaccountstowhichKlinecontsrmshedoesno!have
                            the credentials,he w illsubm ita declaration under oath and 1
                                                                                        tmder
                            penaltyofperjury,tothateffect,andwhich stateswithspeclfkity
                            the reasonswhy such credentialsare unavailable to Kline.



                                                     4

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                 c. Kline m ustprovide his W alm artphone he described,as w ellas his hom e
                                                                                       1
                    computer that he identified, to the Third Party D iscovery Vendor    for
                    im aging.

                 d. Kline mustsign and provide to the Third Party Discovery Vendorthe
                    privacy and consentfol'msrequired by Twitter,aswellassuch fql'             ms
                    reqsuho
                    or   ireul
                             ddbyth
                                ha eslo
                                  ve  isc
                                        ti
                                         ea
                                          dlme
                                            ondiascCe
                                              hi   omy
                                                     rtlaniaetsion
                                                        ûc      forFonu
                                                                   theotheraccoun
                                                                                'ts
                                                                                  coKlineellll
                                                                                    uns      ssted
                                                                                              ha ll
                                                                      . Pl
                                                                         aintiffs       I
                    prom ptly re-send any m issing folw s to K line for execution,and no later
                    than Friday,N ovem ber29,2019 at12:00 p.m .
                                                                                            I

     Dkt.599at14-15(!41).
                                                                                            I
            7.      lntheverynextparagraph,thisCourtwrotethatSGlllineshouldpromptl
                                                                                 yinform the
                                                                                 !
     Courtand Plaintiffsupon com pletion ofeach ofthe aforem entioned stepstoward purI
                                                                                     ging him self
                                                                                            l
                                                                                            !
     ofcontempt.''Dld.599at15(!42).                                                         '
            8.      In theCivilContemptOrder,thisCourtreiteratedthatKlinewasordeqedtoappear
     on Decem ber 16,2019 at 11:00 a.m .forthe Second CivilContemptHearing,and furtherw arned

     thatdçgijfKlineremainsin non-compliance on thatdate,thisCourtisprepared to'hold him in
                                                                                            l
     custody untilhe purges him selfofhiscontem pt''Dkt.599 at2.

            9.      On Decem ber6,2019,Plaintiffs filed a renewed m otion forevidentiary sanctions

     againstKline.Dkt.601.Therein,Plaintiffswrotethat,Ctgaqsofthisfiling,Klinehasfâiledtopurge
     him selfofhiscivilcontempt.''1d.at16.Plaintiffsthen parsed each oftherequiremrntssetforth
     inparagraph 41ofthisCourt'sOrderFindingElliottKline in CivilContemptand documenteb
     how K line failed to fultilleach ofthose obligations.1d.

            10.      On D ecem ber 10,2019,this Courtissued a Show Cause Order to K line,which
                                                                                      I
     ordered K line to subm itby D ecem ber 13,2019,ç:a brieforresponse addressing any1and a1lsteps
                                                                                            .




     Kline hastaken to purge him selfofcontem pt.Specifcally,K line shalladdresshow and w hen he

     satisfied each ofthe discovery obligationssetforth in paragraph 41 ofthis Court'sOrderFinding

     ElliottK line in CivilContem pt''D ld.602 at2.ThisOrderalso required K lineto advisetheCourt

                                                      5                                    I

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    on the status of his previously-m entioned effortsto secure counsel.1d.A nd,it ordered K line to

    bring with him to the Second CivilContem ptH earing his hom e com puter thathe identified,so
    thatitcould beturned overtotheThird Party DiscoveryV endorforim aging.Id. l
                                                                              I

           l1. OnDecember10,2019,thisCourtalsoorderedPlaintiffstofileas1
                                                                       bpplemental
    briefbyDecember13,2019,addressinc,amongotherthings,EdanyfurtherstepsKliehastaken
                      '
                                          -
                                          ''                                           p
    (orfailedtotake)topurgehimselfofcivilcontempt.''Dkt.603at1.                        I
                                                                                       I
           12.    On Decem ber13,2019,K linesubm itted aresponseto Plaintiffsand Ju1
                                                                                   dgeH oppe.
                                                                                            s
                                                                                       1
    Ch                                                                      l
      ambers,thoughnottothisCourqaswasrequired.Kline'sresponsedidnotstate(Ghow andwhen
    hehadsatisfiedeachof$hediscoveryobligationssetforthinparagraph41',oftheCiyi
                                                                             1lContempt
                                                                                       I
    Order,as w as required,nor did it advise the Courtregarding K line's purported efforts to seek
                                                                                       1
                                                                                       I
    counsel,aswasalsorequired.KlinedidarguethatheSs
                                                  hals)beenentirelyincompliali
                                                                             1
                                                                             cewi
                                                                                thEhisq
    discoveryobligationstothebestof(hislability.''Klinefurtherprovidedanotherpajswordtoan
                                                                               !
    e-m ail account requested by Plaintiffs; responded that he had turned over a1l other available
                                                                                       1
                                                                                       I
    accountinform ation;and explained he could notfind hishom e computerthathe disclosed in his
    depositionK linealso requestedtheSecond CivilContem ptHearingbecontinuedfromtDecem ber
              .



    16,2019 to a laterdate;orthathe be allowed to appeartelephonically.

           13.    On D ecem ber 13,2019,Plaintiffs also subm itted a response as directed by this

    Court'sOrder,inwhichtheyasserted,amongotherthings,theywere<tunawareofanyifurthersteps
                                                                                      I
    thatKline hastaken to purge him selfofcontem ptsince D ecem ber5,2019,w hen he
                                                                                 l produced a

    single docum entin response to the Requests forProduction and provided deficientresponsesto

    Plaintiffs'FirstSetoflnterrogatories.''Dkt 604 at2.

           14.    On D ecem ber 13,2019,this Court entered an Order denying K line's requestto

    continue the Second CivilContemptH earing,orto pelnnithim to entera telephoniç appearance.
                                                                                      I



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     D kt. 605. On D ecem ber 16, 2019, this Court held the Second Civil Contempt H earing, as

     scheduled.Dkt.609(Hr'gTr.).

                                                                                        I
                                                                                        I
                                             Governinc Law

            15.    SW courtm ay im pose sanctions forcivilcontem ptto coerce obedience to a court

     orderorto com pensatethecom plainantforlossessustained asaresultofthe contum qcy.''Crom er

     v.KrajtFoodsN.Am.
                     ,Inc.,390F.
                               3d812,821(4thCi
                                             r.2004).TheEi
                                                         essence'ofci)
                                                                     vilcontempt            -

     Gsistocoercefuturebehavior.''Consol.CoalCo.v.focal1702,UnitedM ineworkeràofvjm.,683
     F.2d827,830(4thCir.1982);seealsoCivilContemptOrder,Dkt.599at7-9(!!15=22)(further
     describinglaw applicabletocivilcontempt).                                          1
                                                                                        l
            16.                                                                        ; m ages and
                   Potential rem edies for civil contempt include the ability to award da

     attonw y's fees to the aggrieved party,or to im prison the contem nor untilhe purges him self of
                                                                                        1
     contempt.See,e.g.,Rainbow Schoolv.Rainbow EarlyEduc.HoldingLLC,887F.3d810,617(4th

     Cir.2018);VictorStanley,Inc.v.Creative'f#c,Inc.,269F.R.D.497,537(D.Md.l
                                                                           2010)(citing
     authorities).Butç(inselectingsanctions,acourtisobligedtousetheleastpossiblepo/
                                                                                  I
                                                                                    eradequate
     totheendproposed.''Spallonev.UnitedStates,493U.S.265,276(1990).
                             ï

            17.    D efenses to civilcontem ptinclude a presentinability to comply with; the orderin
 '

                                                                                        i
     question and substantialcom pliancew ith such order.Unitedstates v.Rylander,460 U .S.752,757

     (1983);SEC v.SBM Inv.Certscates,Inc.,No.06-cv-866,2012 WL 706999,at*10 (17.Md.
     Mar.2,2012).A partyraisingtheformerdefensemustaffirmativelyproduceevide/ceshowinga
                                                                                        ô
     presentinability to com ply w ith the order in question.''United States v.W alden,N o.1:16-cv-42,

     20l9W L 1028529,at*3(N.D.W .Va.M ar.4,2019)(citingUnitedstatesv.Butler,211F.3d826,
     831(4th Cir.2000)).AstotheIatter,Csltjo benefk from thesubstantialcompliancedefense,the
                                                                                       I

                                                    7

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    violatingpartymustshowthatittooka1lreasonablestepstoensurecompliance.
                                                                        ''Schwl
                                                                              artzv.Rent-
    a-WreckofAm.,261F.Supp.3d607,615(D.Md.2017);seealsoUnitedstatesv.DarwinConstr.
    Co.,Inc.,873F.2d750,755(4thCir.1989).1


                                        FindincsofContem pt
           18                                                                         i
             .    ThisCourthasreviewed therecord,the parties'subm issionsto this Cour
                                                                                 I
                                                                                     tbefore
    theSecond CivilContemptH earing,K line'stestim ony atthehearing andtheothereFvidence and

    argumentpresentedbythepartiesatsuchhearing.                                      j
           19.    Upon such review,this Coul'tcontinues to find by clear and convincrng evidence

    thatKlineremainsincontemptofcourt.SeeJFS Ttm Inc.v.H t:tR BlockE.FlxSeys.,359F.3d
                                                                                     i
    699,705(4thCir.2004).
          20.     Separately,thisCoul'
                                     tfindsthatK line hasfailed to m eethisburden ofshow ing that
                                                                                     I
    he has purged him self of contem pt.See Butler,211 F.3d at 831; see also W alden,2019 W L

    1028529,at *3;FirstM ariner Bank v.Resolution Lcw Grp.,#.C.,N o. 12-cv-1133,2014 W L

    1681986,at*2(D.Md.Apr.28,2014).
          21.     In paragraph 41ofthe CiyilContemptOrder,thisCourtsetforth ste.sKlinewas

    requiredto completeinordertopurgehimselfofcontempt.Dkt 599at14-15(!41I
                                                                         ).ThisCourt
    Gndsby clearand convincing evidence thatK linehasnotcom pleted therequisite steps.
                                                                                   I




           1 Som e courts w ithin the Fourth Circuithave reached differinR conclusions'on the issue
                                                                    -            I
    whetheraparty,sgood-faith attemptto comply constitutesa defenseto civilconterrpt.Compare
    Lambertv.G#tDev.Grp.,LLC,No.1:18-cv-215,2019W L 177078,at*2(M .D.N.C.Jan.11,
    2019)(writingthat$çagood-faithattempttocomplywiththecourt'sorder''isadlfensetocivil
    contempt),withSBM Inv.Cert6cates,Inc.,2012WL706999,at*10n.21(writingth!attheFourth
    Circuithassubsequentlyrejectedthisdefense).Butevenassuming,withoutdecidipg,thatgood
    faith isadefense,itwould nothelp Kline here,becausehehasnotdem onstrated thathe m ade such
    a good faith attem ptto purge him selfofcontem pt.
                                                  8

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                    FailuretoResoondtoDiscovervRequests(Para.41(a))
              22.   Kline was required to (trespond in w riting-
                                                               /hf/
                                                                  yandcompletel
                                                                              ytoPlal
                                                                                    intiffs'First
     Ste of lnterrogatories and Plaintiffs' Requests for Production of D ocum ents.''Dkt
                                                                                       1
                                                                                        .599 at 14
                                                                                        !
     (!41(a))(emphasisadded).ThisCourttsndsKline'sresponsesmateriallydeficientinbothform
     and substance.

              23.   K line'sresponsestoPlaintiffs'FirstSetoflnterrogatorieswere required to beunder

     oath- anobligationmadeclearonpageoneoftheInterrogatories.Fed.R.Civ.P.33(b)(3);Dltt.
                                                                           '
                                                                                        j
     457-                                                                               I
            9at1.Kline'sresponseswerenotunderoath.Dkt.601-7at16;seealsoDkt.609at19(Second
     CivilContemptHr'gTr.).                                                             i
              24.   K line w as required to em ailhis discovery responses to this Court a1nd to Judge

     Hoppewhen they werecompleted.Dkt.599at14 (!!41(a),42).Klinedidnotdoko.See,e.g.,
     Dkt.609 at 13-14.

              25.   K line'sresponsesto Plaintiffs'FirstSetofInterrogatoriesw ere also substantively

     descientin num erousrespects.

              26. Interrogatory1,forexample,askedKlinetoG'lildentifyallmeansofcommunication
     used by you to com m unicate''concerning Unite the ltight,and to provide çtallnam es,aliases,e-

     mailaddresses,phonenumbers,andSocialMediaHandlesgKline)usedinconnectilnwithsuch
     communications.''Dld.457-9at8.ThelnterrogatoryspeciGedthatKçlmqeansofcommu
                                                                                       1
                                                                             I nications
     include,but are not lim ited to,telephone calls,in-person m eetings,and al1m eans of electronic

     com m unication including,forexam ple,SocialM edia,em ail,SM S m essages,podcasts,and online

     video.''Id.

              27.   K line'sresponseto Interrogatory 1 only identifed certain accountson the D iscord

     andTwitterplatforms.Dkt.601-7at16.
                                                                                       l
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           28.    K line did notf'
                                 ully and completely respopd to lnterrogatory l.Atam inimum ,there

    w ere foure-m ailaccounts,alid accountson Facebook and Gab thatshould have been included in
    Kline'sresponse.SeeDkt.609at19-21(SecondCivilContemptHr'gTr.).                    l
                                                                                      :
           29.    This Courttinds incredible K line's assertion that he did notknow he needed to
                                                                                      I
    includesuchinformation inhisinterrogatoryresponse.f#.at20.Kline'se-mailaccotmts,aswell
    ashis Facebook and Gab accounts,were discussed atlength in the FirstCivilContemptH earing.

    See,e.g.,Dkt.600at26-27,29,51-52 (FirstCivilContemptHr'gTr.).M oreover,jthefactthat
                                                                                      1
    Plaintiffssoughtdiscovery from Kline'se-mailand socialmediaaccountswasalsckakeyissue
                                                                                      1
    addressed throughoutthe CivilContem ptOrder.See,e.g.,Dkt.599 at11-12.Itcouldl com e asno
                                                                                      !
    surprisetoKlinethatPlaintiffssoughtdiscoveryfrom thosesourcesandthatthosesqurcesshould
                                                                               I
    have been listed in Kline's answer.                                               '

           30.    K line's answ ers to other Interrogatories were defk ient too. Fpr example,
                                                                                   I
    lnterrogatory 3 asked Klineto dslildentify a1lpersons (naturalornon-natural)with whom you
    com m unicated concerning''Unite the R ight.D kt.457-9 at 8.K line did notfully and com pletely

    respondtothisInterrogatory.Infact,Klinehadalreadytestiûedthathehadcommuricatedwitha
    m em berofV anguard A m erica,Thom asRyan Rousseau,and m em bersoftheCharlottesvillePolice
                                                                                      l
    D epartm ent,aboutthe events underlying the Complaint.Dk4.609 at21-22.H ow ever
                                                                                 1 ,Kline did

    not list Rousseau or m embers of the Charlottesville Police D epartm ent in hisiresponse to

    lnterrogatory 3.Dkt.601-7 at 16.

           31. Interrogatory4 askedKlinetoççlijdentifyallElectronicDevicesusedby(himlto
    communicateconùerningtheEvents,whetherbefore,during,oraftertheevents-''Dlg.457-9at8.
    Kline also failed to fully and completely respond to Interrogatory 4.K line failed to disclose
                                                                                     1
    communicationusingaphoneassociatedwitha(347)areacodephonenumber.Dl$ 601-7at16.

                                                  10

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         Though K line testified he neverhad orused thatnum ber,D kt.609 at24-25,thisCourtfindsthat

         K line should have in the interestofcompletenessincluded any such explanation in hisresponseto

         lnterrogatory4,giventhedocumentationlinkinghim withthat(347)number.
                32.     This Courttsnds those om issions in K line's responses to Plaintiffs First Set of

         Interrogatoriessignifcantintheirownright.Inaddition,thisCourtconcludesthattheseomissions,
                                                                                      1
         i                                                                            i
          nconjunctionwithKline'sotheromissionsandfailurestofollow courtorders,furtherdemonstrate
      ' thatK line did not take seriously his obligation to respond to Plaintiffs' first set of discovery
                                                                                            1
         requests,raising the substantialprospectthatKline om itted othermaterialinformaiIion from his
         discovery responses.

                 33. ThisCourtalsofindsincrediblethatKlineonlyhad oneresponsiveIdocumentto
                                                                                         )
         Plaintiffs'Requests for Production of D ocum ents.These docum ent requests required K line to

         produce any çEe-m ail, electronic chats, instant m essages,text m essages,uploads, posts, status
                                                                                            I
         updates,comments,''andthelistgoeson(Dkt.457-8at3),thatwereresponsivetotheirrequests.
         This Coul'
                  tassessed K line's dem eanor in his responses to this Court's questions concerning his

         searchforresponsivedocumentslDld.609at34-35),andfoundunbelievablehisIexplanations
         why he had only one responsive docum ent.Even assum ing m ost com m unication w as done via

         DiscordasKlineclaims,andthathewasinvolvedwithCtdecentralized''organizations
                                                                                  l ((Dkt.609
                                                                                           I
         at34-35),theCourtdoesnot,atthisstage,creditKline'sassertionthatheconductedareasonable
                                        '

                                                                                           (
         and diligentsearch through a1lavailable accounts,electronic devices,and sources ofrecords.z
                                                                                           :




                2 In this inquiry, thisCourthasnotfaulted Kline fornothaving accessto bny electronic
         devices notcurrently in his possession because the Third Party Electronic D iscovery vendor had
         them,orthathadalreadybeenturnedovertoPlaintiffs.See,e.g.,Dkt.604at4(descrlbingmissing
         W almartandiphone).
                                                        11

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                  FailuretoDocumentSearchforAccountCredentials(Para.41(b))
           34.    ln order to purge him self of contempt,Kline w as required to çdprovide the Third

    partyDiscoveryVendorhisemailandsocialmediacredentials,includinghispasswords,forevery
                                                                                          !
                                                                                    I
    accounthe identiied on his Certification Form ,orthatshould have been included on such Form

    originally.''Dkt.599at14(!41(b)).Insodoing,thisCourtrequiredKlinetoconduc1taS'diligent
                                                                                          I
    search''forsuch credentials.Id.(!41(b)(i)).ForanyaccountsforwhichKlineconfrmedhedid
    nothave such credentials,thisCourtrequired Kline to tçsubm ita declaration underoath and under

    penaltyofperjury,tothateffect,andwhichstateswithspecifcitythereasonswhysuc!
                                                                              hcredentials
    areunavailabletoKline.''Id.(!41(b)(ii)).
           35.     Klinefailedtocomplywithhisobligationssetforthinparagraph4141
                         '                                                    $ oftheCivil
                                                                                    j
    Contem ptOrderasw ell.N am ely,Kline failed to inform thisCourtand Plaintiffsupon
                                                                                    I com pletion

    ofthesearchrequiredbyparagraph41(b)(i),asthisCourthadorderedthatçiKlineshouldpromptly
    infonn the Courtand Plaintiffs upon completion ofeach ofthe aforementioned keps toward

    purginghimselfofcontempt''1d.!42.M oreover,Klinesimply failedto submitany declaration
                                                                                          l
    underoath stating with specificity the reasonswhy hehad been unable to accesscfedentialsfor

    anyemailandsocialmediaaccounts.f#.!41(b)(ii).

                                                                                          ;

                  OtherRequirementsSatisfied(Para.41(c),(d))
           36.    W hile Plaintiffs w ill still be able to argue that K line's failures w ith respect to
                                                                                         1
    P                                                                                    I
     aragraph41(c)and(d)oftheCivilContemptOrdercausedthem toincurunnecessaryfeesand
    costj, and/or im paired their ability to tim ely m ake their case,this CourtGnds that Kline has

    fulfilled any obligations with respectto these provisions.H e testifed under oath that his hom e

    com putercould notbefound,and hehasalready turned overhisW alm artphoneupon this Court's


                                                   12

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    order.Dltt.609 at 12,
                        .Dld.604 at4.M oreover,itappears from Plaintiffs'response tq this Court's
                                                                                       I
    inquiry atthe Second CivilContem ptH earing thatthey agree K line cannotatthis t'm e take any

    furtherstepstofilloutprivacyorconsentfol'
                                            m sforany othersocialmediacompaniej,sinceKline
                                                                                       ;
    hasassertedhehasnoaccesstothoseaccountsanddoesnotrecallthee-mailaddresslsassociated
    w ith such accounts.D kt.609 at9-10.
           37.    This Courtfinds that K line has failed to purge him self of contem ptI
                                                                                       .This Court
                                                                                       i


    furtherfindsbyclearandconvincingevidencethatKlineremainsincontempt.No)
                                                                         àbly,nearly
    twoyearsaftertheywerefirstserved onKline,hestillhasfailed to fullyandcomplqtely respond
                                                                                 I
                                                                                 I
    to Plaintiffs'FirstSetofInterrogatoriesand FirstSetofRequestsforProduction ofD ocum ents,

    asparagraph 41(a)ofthe CivilContemptOrderrequired.Moreover,Klinefailedlo satisfy his
                                                                           I
    obligations in paragraph 41(b)ofthe CivilContemptOrder,to documentand Vplain with
    specificity why he isunableto access each ofthe e-m ailand socialm edia accountsto w hich K line
                                                                                       I
                                                                                       !
    confirm s he does not have access. Further still, K line failed to com ply w ith court orders in
                                                                                       I
    numerous(andsimple)respects,such ase-mailing theCourtandPlaintiffsupon cl
                                                                            ompletion of
    each step setforth to purge him selfofcontem pt.These collective deficienciesw ere j
                                                                                       '
                                                                                         uch thatthis
                                                                                       j
     Courtcannotconclude thatK linem ade a real,good-faith effortatpurging him selfofcontem pt,or

    thathe ççtook allreasonable stepsto ensure com pliance''w ith this Court's CivilCoptem ptOrder,
                                                                                       1

    Schwartz,261F.Supp.3d at615.



                  K line's OtherRelevantConduct

           38.    This Coul'
                           tfurthernotes and is troubled by the substantialam ount oftim e K line

    tooktobeginpurginghimselfofcontempt.Indeed,Klineonlyttlrnedoverhis(deficient)discovery
    responses to Plaintiffs on Decem ber 5, 2019- i.e.,ten days after this Court found K line in


                                                   13

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     contempt,and itwasthreedaysafterKlinebegin incurring $200perday fines.See,e.g.,Dkt.609

     at14-18(describingKline'seffortsintheinterim).
            39.    This Courtfurther notes and is troubled by K line's failure to tim ely respond to

     Plaintiffs'Second Setoflnterrogatories.W hile Kline'sfailure to com ply with thisparticular and
                                                                     ,
                                                                                       I
                                                                                       l
     subsequentdiscoveryoblijationdidnotfol'm abasisforthisCourtsfindingthatKlinewasincivil
     contempt,itnonethelessunderm inesK line's ability to assertthathe has had a change ofheartor
                                                                                       i

     thathe is now acting in good faith to com ply with his outstanding discovery obli!
                                                                                      gati
                                                                                         ons. This
                                                               .                       I
                                                                                       I
     Courtfurther tinds K line'sresponse thathe hasnotreceived a copy ofPlaintiffs'Second Setof

     lnterrogatoriesto bespurious.Indeed,attheFirstCivilContem ptH earing,a copy ofthedocum ent

     wasprovided to K line.

            40.    lnshorqnotonlywasKlinefound in civilcontempt,andnotonly didhefailtotake
     thestepsrequiredtopurgehimselfofcontempt,buthewasslow toactinmakinjItheeffortto
     purge him self of contempt,and his other conduct since then indicates he has notchanged his
                                                                                      l
     contum aciousbehavior.



                                        CivilContem ptSanctions

            41.    The Courthasthe pow erto coerce compliance w ith its orders,and itm ay exercise

     thatauthority by ordering a defendantto be incarcerated orto pay a fine,orboth,untilhe purges
                                                                                     I
                                                                                     !
     himselfofhiscontempt.Unitedstatesv.M ineWorkers,330U.S.258,303-04(1947).lnselecting
                                                                           1
                                                                           t           ,,
     sanctions,the Court((is obliged to use the leastpossible pow er adequate to the end proposed.

     Spallonev.Unitedstates,493U.S.265,276(1990)(quotationmarksandcitationomitted).
            42.    Atthe CivilContem ptHearingon N ovem ber25,2019,and asfurtherm em orialized
     in the CivilContemptOrder,thisCourthasimposed upon Klinea Gne of$200 pel
                                                                            rday ofnon-


                                                   14

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        compliance,payableto Plaintiffs.ThisCourtsuspended the sanctionsso thatthe Grst$200 fine
                                                                                            1
     wouldbeincurredonDecember2,2019,at5:00P.M .EST,ifKlineremainedinnork-compliance
                                                                                            l
        on thatdateand tim e;and each subsequentdaily $200 finewould beincurred at5:0.0P.M .EST,

        oneachfollowingdayofnon-compliance,andcontinuinguntilKlinepurgeshimselfjofcontempt.
     Dk                                                                                     I
          t.600 at78-79;Dkt.599at13(!37).
              43. ln the CivilContemptOrder,thisCoul'
                                                                                 1
                                                    tfound thatthe imposition ofthism onetary
                                                                                            ,

                                                                                            !
        sanction w as(Cappropriate andtailored atthistim eto coerceK lineinto com plying w ith thisCourt's
                                                                                            1
                                                                                            I
        and Judge Hoppe'sdiscovery orders,using the leastpossiblepow eradequatetotheertd proposed.''
        Dkt.599at13 (!38)(citation omitted).However,Eçgslhould theimposition ofsuq1
                                                                                  h daily fines
                                                                                            p
     proveinsufficienttoachievethisendr''thisCourtwarnedthatitwasifpreparedto iryposeamore
                                                                                            1
                                                                                            I
        severe sanction in orderto coerceK line into com pliance with these orders,nam ely,to incarcerate

        Klineuntilhepurgeshimselfofcontempt.''Id.                                           I
               44.    This Courtfinds thatthese sanctions imposed to date have notbeeplsufficientto
                                                                                            1
        coerceKlineintocompliancewiththisCourt'sorders.ThisCoul'
                                                               tfurthertindsthatzorestringent
        sanctionsarethereforeappropriateandnecessarytoachievethisend.                       l
                                                                                            I
               45 .
                                                                                        !ce K line to
                      A ccordingly,this Courthas also ordered- as a further m eans to coer
                                                                                        I
                                                                                            1
                                                                                            l
        complete hisdiscovery obligations- thatby December30,2019 at5:00 p.m.EST,Kline shall

        pay $600 to Plaintiffs.Thissum representsthree daysofhisnon-compliance with thisCourt's
                                                                                     1
        Ordersand failure to purge him selfofcontempt.31 ddition thisCourtcontinuestoiim pose upon
                                                                ,
                                                            na                             l
        Kline(and in favorofPlaintiffs)aremedialtsneof$200perday ofhisnon-compj
                                                                              liance,which
        finesbegantobeassessed startingDecember2,2019,andhavecontinuedtobeincyrredoneach
                                                                             l

               3Kli             .
                                                                                            !
                    ne previously testified thathe currently had fundsto satisfy a financialrobligation of
        thism agnitude.Dld.600 at60.
                                                       15

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     day thereaftçr w ith the exception of the dates between D ecem ber 16,2019 and the date of the

     issuance ofthisOrder.

             46.    Finally,this CourtO RD ER S K line to appear atthe United States Courthouse in

     Charlottesville,V irginia,on M onday,January 6,2020,at12:00 P.M .EST,and surrenderhim self

     to the custody ofthe United States M arshals Service.Kline shallbring with him any and a1l

     docum ents, electronic devices, credentials to access e-m ail and social m edia accounts, and

     m aterialshe w ould need to purge him selfofcontem pt.
                                                                                                                 !
                                                                                                                 I


                                   Stepsto PurgeH im selfofContem pt
                                                                                                              I
             47.    K line stillhas an opportunity to reduce his fines,and ifnecessary,im!prisonm ent,

     bypurgingàimselfofcontemptbycompletingthestepssetforthinparagraph41(a)and(b)ofthis
     çourt'sCivilContemptOrder.Absentfurtherwrittenorderfrom thisCourt,hesp1
                                                                           allsurrender
     him selfasdirected on January 6,2020.

             Itis so O RDERED .                                                                               I

             TheClerkoftheCourtisdirectedtosendacertifiedcopyofthisOrdertothgparties.The
                                                                                                              i
     Clerk ofthe Courtisfurtherdirected to send a certified copy ofthis Orderasw ellas
                                                                                     !this Court,s
                                                                               1
     O                                                                         !
         rderFindingElliottKlineinCivilContempt(Dkt.599)toElliottKlineatboth emailaddresses
     hehasprovided asw ellasby m ailto hisaddressofrecord.

             Entered this 231
                            -d    day ofD ecem ber,2019.
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